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 3
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 5   Attorney for Defendant
     KENNY RAY RANDALL
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                 )       No. 1:17-CR-00075-LJO SKO
     UNITED STATES OF AMERICA,
                                                   )
11                                                 )
            Plaintiff,                             )       AMENDED STIPULATION AND ORDER
12                                                 )       TO TERMINATE LOCATION
     v.                                            )       MONITORING PROGRAM
13                                                 )
     KENNY RAY RANDALL,                            )
14                                                 )
                                                   )
15          Defendant.                             )
                                                   )
16                                                 )
                                                   )
17

18

19                  Defendant KENNY RAY RANDALL, through his attorney ROBERT L.
20
     FORKNER, with the consent and approval of Pretrial Services Officers Alicia Mirgain,
21
     respectfully requests that the Defendant’s location monitoring condition be removed. Defendant
22
     was originally ordered released by Magistrate Judge Stanley A. Boone on March 8, 2017, on his
23
     own recognizance. On January 4, 2018, his location monitoring condition was modified from
24
     Home Incarceration to Home Detention.
25
            Removal of the location monitoring program is requested because Mr. Randall has been
26
     in compliance with the conditions of release since said conditions were imposed. Since the
27
     modification in January, Mr. Randall has maintained employment with DBI Beverages,
28




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 1   continues to submit to drug testing, and has shown ongoing verification of employment as
 2   directed. Mr. Randall has been compliant with his release conditions and successfully completed
 3   the Better Choices Court Program on May, 2018.         The remaining conditions would continue to
 4
     be in full force and effect.
 5
             Further, counsel and pretrial services have conferred about this request and there is no
 6
     objection from Assistant U.S. Attorney Laurel J. Montoya for the termination of the location
 7
     monitoring program.
 8
     IT IS SO STIPULATED
 9
     Dated: June 12, 2018                                   /s/ Robert L. Forkner
10                                                          ROBERT L. FORKNER
                                                            Attorney for Defendant
11
                                                            KENNY RAY RANDALL
12

13   Dated: June 12, 2018                                   /s/ Laurel J. Montoya
                                                            LAUREL J. MONTOYA
14
                                                            Assistant U.S. Attorney
15

16                                          ORDER
17           Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
18   that the location monitoring program be terminated, and that all other conditions and special
19   conditions of pretrial release remain in full force and effect.
20

21   IT IS SO ORDERED.
22
         Dated:     June 12, 2018                                /s/
23                                                         UNITED STATES MAGISTRATE JUDGE
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